                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF LOUISIANA

    DEMETRA HENDERSON-                                                       CIVIL ACTION
    BURKHALTER, GREGORY OFFRAY,
    AND JACQUELINE THOMPSON
    VERSUS                                                                   NO: 18-928


    NATIONAL UNION FIRE                                                      SECTION: “J”(5)
    INSURANCE COMPANY, ET AL.

                                                   ORDER

        The Court has received reliable information that there is an ongoing criminal

investigation by the U.S. Attorney’s Office that may involve this proceeding and/or

witnesses or counsel to the proceeding.

        “In determining whether to stay civil cases in the face of parallel criminal

proceedings, courts consider 1) the overlap between the civil and criminal case; 2) the

status of the criminal case; 3) private interests of the plaintiff; 4) private interest of

the defendants; 5) the interests of the court; and 6) the public interest.” 1

        The Court finds that it is in the best interest of the parties, the court, and the

public to stay this proceeding pending the conclusion of this criminal investigation. 2

This stay will protect plaintiffs from any risks associated with testifying in this

proceeding while this criminal investigation is pending. This stay is also in



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  Dolan v. Parish of St. Tammany, No. 12-2911, 2013 WL 3270616, at *6 (E.D. La. June 26, 2013). Case 2:19-cv-
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2
  Orders staying similar cases have been issued by Judge Susie Morgan (Consuela Lee, et al. v. Sentry Casualty
Company et al., 19-cv-9978 at Rec. Doc. 13), Judge Sarah Vance (Kierra Thomas, et al. v. Randall Chambers, et al.,
18-cv-4373 at Rec. Doc. 220), Judge Lance Africk (Harry Dorsey, et al. v. Courtney Jamair, et al., 18-cv-6603 at
Rec. Doc. 162), and Judge Ivan Lemelle (Dmitri Frazier, et al. v. Robert L. Runnels, et al., 18-cv-2340 at Rec. Doc.
111).
defendants’ interests, because proceeding to trial before the criminal investigation

concludes could result in certain witnesses invoking their Fifth Amendment privilege.

      This stay applies to all aspects of this litigation, including any pending motions

currently before Magistrate Judge North. The matter may be reopened upon the

motion of either party demonstrating that the criminal investigation has concluded,

at which time a new trial date will be set. Finally, plaintiffs are advised that they

should obtain independent legal advice concerning any risks they may face in

continuing with this litigation.

      Accordingly;

      IT IS ORDERED that the above-captioned case is STAYED and

administratively closed.

      IT IS FURTHER ORDERED that all motions pending before the

undersigned and U.S. Magistrate Judge North are DISMISSED WITHOUT

PREJUDICE, reserving to the parties the right to reurge any motions when the

above-captioned matter is reopened.

      IT IS FURTHER ORDERED that the pretrial conference currently set for

Thursday, August 15, 2019 is CANCELLED.

      New Orleans, Louisiana, this 15th day of August, 2019.



                                            CARL J. BARBIER
                                            UNITED STATES DISTRICT JUDGE
